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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

JEFFREY MARTENSEN,                                  )
                                                    )
                Plaintiff,                          )
                                                    )
 v.                                                 )              Case No. 17 CV 1494
                                                    )
CHICAGO STOCK EXCHANGE,                             )
                                                    )
                Defendant.                          )
                                                    )
                                                    )
                                                    )


                                         COMPLAINT

          PLAINTIFF JEFFREY MARTENSEN, through his attorneys, Richard J. Gonzalez and

Jaz Park / Law Offices of Chicago-Kent College of Law, complaining of DEFENDANT

CHICAGO STOCK EXCHANGE (“CHX”) alleges as follows:

                               PARTIES AND JURISDICTION

          1.    PLAINTIFF is and was at all relevant times a resident of the city of Chicago,

Illinois, and was employed by DEFENDANT CHX as Supervisor of its Market Regulation

Trading Examinations unit until the August 29, 2016 termination of his employment.

          2.    DEFENDANT CHX is a duly registered corporation doing business within the

city of Chicago, Illinois, where PLAINTIFF had been employed at all relevant times.

          3.    This Court has jurisdiction of this matter pursuant to the provisions of the Dodd-

Frank Act, 15 U.S.C. Sec. 78u-6 and this Court’s supplemental jurisdiction over related state law

claims.




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                                           COUNT ONE

     RETALIATORY DISCHARGE IN VIOLATION OF THE DODD-FRANK ACT,

                                         15 U.S.C. Sec. 78u-6

        4.       PLAINTIFF MARTENSEN was hired by DEFENDANT CHX on November 2,

2012, and served, prior to his termination, as Supervisor of CHX’s Market Regulation Trading

Examinations unit.

        5.       In that role, PLAINTIFF had the duty and obligation to conduct himself and his

work-related activities according to the highest ethical standards and in accordance with all laws

and regulations pertaining to the CHX and its activities, including PLAINTIFF’s duty to disclose

any contravention of any law, rule, or regulation subject to the jurisdiction of the Securities and

Exchange Commission.

        6.       In April, 2016, PLAINTIFF, who had become concerned about malfeasance,

nonfeasance and misfeasance by his supervisor Peter Santori, contacted Senior Vice President

Steven Givot to voice his concerns as required by rule and in accordance with “The Exchange’s

Open Door Policy” and “Business Ethics Policies” sections of the CHX Employee Handbook.

        7.       As a direct result of the conversation between PLAINTIFF and SVP Givot, CHX

Board member Charles Rogers contacted PLAINTIFF via email, requesting a written summary

of the issues.

        8.       As requested, on April 29, 2016, PLAINTIFF provided a memorandum to Rogers

that detailed the misconduct at issue.

        9.       In that memorandum PLAINTIFF advised Rogers that at a February 24, 2016

ROC meeting, Santori intentionally or negligently misled Board members as to whether a

participant was aware of actions that they needed to take to avoid further sanctions by CHX




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Regulatory Operations and Enforcement. When PLAINTIFF correctly offered the fact that the

participant was not aware of the requisite actions needed, PLAINTIFF was subsequently

reprimanded by Santori for the contradiction.

       10.     Also within that memorandum, PLAINTIFF advised Rogers that at the April 22,

2016 weekly Market Regulation/Enforcement meeting, Santori made numerous comments as to

whether any actions should be considered against a participant because that action could be

detrimental to the exchange’s reputation with its participants and potentially to exchange

business going forward, rather than considering the seriousness of the violation without regard to

potential business implications.

       11.     Also within the memorandum, PLAINTIFF advised Rogers that Santori had

recently instructed the Market Regulation Trading Examinations unit to adhere to a course of

action that was inconsistent with and directly counter to CHX Article 17, Rule 3(d)(3), despite

PLAINTIFF’s objections that said course of action was counter to CHX Rules.

       12.     Immediately after PLAINTIFF issued the memorandum to Rogers, Rogers

informed PLAINTIFF that an investigation into PLAINTIFF’s concerns would occur, but also

warned PLAINTIFF that his disclosure would result in “unexpected consequences” for

PLAINTIFF.

       13.     On August 29, 2016, DEFENDANT terminated PLAINTIFF’s employment,

despite a history of exemplary job performance, citing pretextual reasons but actually in

retaliation for having reported the misconduct of Santori, as foretold by Rogers.

       14.     DEFENDANT’s retaliatory termination of PLAINTIFF’s employment was done

in clear violation of the law in the following respects:




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       a.        Plaintiff’s initial disclosure was required by the Business Ethics Policy of the

       CHX Handbook that provides “[e]mployees are also expected to bring to the attention of

       the Vice President of Human Resources, an Officer, or the Company’s General Counsel

       any situation or occurrence which may involve illegalities or acts in violation of or

       contrary to Company policy. Under no circumstances will the Exchange retaliate, either

       directly or indirectly, against an Employee solely on account of the Employee having

       raised a matter in good faith.”

       b.        Plaintiff’s subsequent memorandum detailing Santori’s misconduct was required

       by Board Member Rogers in his official capacity.

       c.        DEFENDANT CHX is under the jurisdiction of the Securities and Exchange

       Commission. Making required disclosures under any law, rule, or regulation subject to

       the jurisdiction of the Commission is a protected activity under 15 U.S.C. 78u-6(h)(1)(A).

       15.       Under the provisions of the Dodd-Frank Act , 15 U.S.C. Sec. 78u-6(h)(1)(A), an

employer may not discharge an employee who as acted as a “whistleblower” within the meaning

of the Act’s provisions for having made disclosures that are required under the Sarbanes-Oxley

Act of 2002, 15 U.S.C. 7201 et. seq.

       16.       PLAINTIFF is an aggrieved employee pursuant to the provisions of 15 U.S.C.

Sec. 78u-6(h)(1)(B) and is entitled to bring this private cause of action within a Federal Court

because PLAINTIFF verbalized and complained of the foregoing conduct that he subjectively

reasonably believed violated the security laws and that objectively violated the securities laws, as

set out above.

       17.       As a proximate result of DEFENDANT’s unlawful conduct, PLAINTIFF suffered

loss of salary, benefits, and incurred incidental expenses related thereto.




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WHEREFORE, PLAINTIFF respectfully seeks entry of an Order:

       A. Reinstating him to his previous position;

       B. Awarding him all lost wages and the value of lost benefits and incidental expenses;

       C. Awarding him an additional equal sum as liquidated damages under the provisions of

             the Act;

       D. Awarding him all attorney fees and costs of this litigation, including any expert

             witness fees; and

       E. Such other relief as this Court deems just and appropriate.

                                          COUNT TWO

RETALIATORY DISCHARGE IN VIOLATION OF ILLINOIS COMMON LAW

       DEFENDANT’s termination of PLAINTIFF’s employment without basis constituted a

retaliatory discharge within the meaning of Illinois law in that PLAINTIFF was terminated for

vocalizing his objections to Santori’s unethical conduct as described above.

       18.       PLAINTIFF repeats and re-alleges Paragraphs 1-17 of Count One and

incorporates same by reference as though fully set out herein.

       19.      As Supervisor of DEFENDANT’s Market Regulation Trading Examinations unit,

it was PLAINTIFF’s duty to disclose unethical and illegal conduct that he observed in process, in

accordance CHX and SEC Rules and with the public policy of the state of Illinois.

       20.       DEFENDANT’S termination of PLAINTIFF’s employment without cause for

having vocalized his opposition to Santori’s unlawful conduct constituted a retaliatory discharge

within the meaning of Illinois law.

       21.      PLAINTIFF’s objections to unethical and illegal conduct struck at the heart of the

welfare of the citizens of Illinois within the meaning of Illinois law.




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         22.     DEFENDANT’s actions were performed with malice in that PLAINTIFF’s

termination was a sudden and direct response to PLAINTIFF’s protests of unethical and illegal

conduct, and were in direct violation of 15 U.S.C. 78u-6(h)(1)(A) and 17 C.F.R. 240.21F-2.

         23.    As a proximate result of DEFENDANT CHX’s conduct, PLAINTIFF suffered

loss of his employment, lost wages, lost benefits, and emotional distress in the form of anxiety,

embarrassment, and humiliation.

         WHEREFORE, PLAINTIFF prays for an Order:

         A.     Reinstating him to his previous position;

         B.     Awarding him all lost wages and the value of lost benefits;

         C.     Awarding him compensatory damages in an appropriate sum; and

         D.     Awarding him punitive damages in an appropriate sum.

                                              COUNT THREE

                                         NEGLIGENCE PER SE

   24.          Plaintiff repeats and re-alleges Paragraphs 1-23 and incorporates same by

         reference as though fully set out herein.

   25.          The foregoing conduct constitutes negligence per se under Illinois law in that:

         a.     Defendant, in terminating Plaintiff’s employment based upon retaliation, did so in

         violation of the anti-retaliation provisions of the Dodd Frank Act.

         b.     The Dodd Frank Act provides for criminal but not civil penalties for such a

         violation.

         c.     Defendant’s action- termination of Plaintiff’s employment- is the specific type of

         harm to an employee that the anti-retaliation provision of the Dodd Frank Act is designed

         to prevent.




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      d.      Plaintiff—as an individual who registered internal complaints to managerial

      agents of Defendant—is a member of the protected class of employees within the

      meaning of the Dodd Frank Act.

           WHEREFORE, PLAINTIFF prays for entry of an Order:

           A. Awarding him lost wages and the value of lost benefits;

           B. Awarding him compensatory damages in an appropriate sum;

           C. Awarding him punitive damages in an appropriate sum.

      PLAINTIFF DEMANDS TRIAL BY JURY.

                                                   Respectfully submitted,

                                                      By:__s:/Richard J. Gonzalez__________
                                                              Richard J. Gonzalez
                                                             Attorney for Plaintiff


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